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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                        Wheeling




   DAVID VANCE and ROXIE
   VANCE, and CARLA SHULTZ, individually and on behalf
   of a class of all persons and entities
   similarly situated,

                         Plaintiffs,

                 v.                                         CIVIL ACTION NO. 5:17-CV-179
                                                            Judge Bailey

   DIRECTV, LLC,

                         Defendant.




                  ORDER DENYING MOTION TO COMPEL ARBITRATION

          Pending before this Court is Defendant DirecTV, LLC’s Motion to Compel Arbitration

   [Doc. 340], filed on July 29, 2022. Plaintiff Carla Shultz filed an Opposition to Defendant’s

   Motion to Compel Arbitration [Doc. 343] on August 12, 2022. Defendant DirecTV, LLC filed

  a Reply Memorandum of Law in Support of Motion to Compel Arbitration [Doc. 352] on August

   19,2022. Accordingly, this matter is ripe foradjudication. Forthe reasons contained herein,

  the Motion will be denied.
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                                          BACKGROUND

   L      Plaintiffs’ Claims

          Plaintiffs allege that defendant DirecTV, LLC (“defendant DirecTV”) retained ACI

   Communications (“Ad “)to sell defendant DirecTV’s services. [Doc. 275 at ¶ 24]. Further,

   plaintiffs assert ACI purchased a list of leads and phone numbers from a third party and used

   that list to make telemarketing calls, but failed to scrub the list for numbers on the national

   do-not-call list and called those numbers in violation of the Telephone Consumer Protection

  Act (“TCPA”). [Id. at ¶1[ 26, 29—34]. Plaintiffs do not claim defendant DirecTV itself placed

   the calls in question; rather, plaintiffs argue DirecTV is vicariously liable for ACI ‘s actions.

   See [Doc. 301 at 15].

   II.    Defendant DirecTV and ACI

          Defendant DirecTV provides satellite television services to millions of customers

   across the United States. [Doc. 325 at 9]. During the relevant time, defendant DirecTV relied

   in part on a network of local dealers to promote its services. [Id.]. ACI, founded by Adam

   Cox and his father, was one of defendant DirecTV’s dealers for Kentucky, Ohio, and West

  Virginia. [Doc. 325-2 at 17,35]. In 2017, AC1 entered into a Preferred DealerAgreement,

  wherein it agreed to market the services of defendant DirecTV and several affiliates, including

  AT&T Mobility. [Id. at 22—23]. The agreement authorized ACI to promote, market, advertise,

  solicit, and take orders for the (1) leasing of defendant DirecTV’s systems, and (2) sale of

  subscriptions to single family residential households. [Doc. 325-6 at 25]. According to

  defendant DirecTV, this agreement constituted an independent contractor relationship, rather



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   than a joint employer enterprise, joint venture, partnership, or franchise arrangement. [Id.

   at 2—3].

          Pursuant to the agreement, AC1 agreed to comply with a set of marketing guidelines,

   which expressly prohibited “cold calling.” [Id. at 19] (“You are prohibited from outbound

   telemarketing.         .   .   except via a manually placed return call or text message in response to a

   direct inquiry from a customer and you are able to substantiate such inquiry.              .   .   Using live

   operators.   .   .   to place unsolicited (no applicable existing business relationship or qualifying

   inquiry) outbound telemarketing calls, sometimes also referred to as ‘cold calls,’ is expressly

   disapproved of for any use in advertising AT&T branded products and services.”) (emphasis

   omitted). AC1 represented that it would use events, flyers, and doorhangers to promote

   defendant DirecTV’s services. [Doc. 325-7 at 2]. Plaintiffs contend that ACI nevertheless

   engaged in unlawful cold-call telemarketing to promote defendant DirecTV’s services.

          Plaintiffs’ expert, Anya Verkhovskaya, asserts that she analyzed the phone numbers

   listed in AC1 ‘s call data, identified phone numbers therein on the national do-not-call list and

   the dates of those phone calls, and then determined which of those phone numbers received

   two or more calls from ACI within a twelve-month period. [Doc. 301-6 at~[49, 55]. She then

   produced a list of 113,997 telephone numbers that plaintiffs contend could belong to potential

   class members, along with a number of calls purportedly violating the TCPA. [Doc. 301-7].

   NI.    The Named Plaintiffs

          The operative complaint names three plaintiffs: David Vance, Roxie Vance, and Carla

   Shultz. The Vances, who use AT&T Mobility, claim that on June 1, 2018, ACI placed a

  telemarketing call to theirphone number, which was listed on the national do-not-call list; they

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  claim they received a second call from ACI on November 29, 2018. Ms. Shultz alleges she

  received telemarketing calls from ACI on July 17 and July 19, 2018. Based on these

  allegations, this Court granted the proposed class certification in its August 1, 2022, Order

  Granting Motion for Class Certification.

                                       APPLICABLE LAW

         Section 2 of the Federal Arbitration Act (“FAA”) provides that a written arbitration

  agreement “shall be valid, irrevocable, and enforceable, save upon such grounds as exist at

  law or in equity for the revocation of any contract.” 9 U.S.C.   § 2. Section 2 is the “primary
  substantive provision” of the FAA, while     §~ 3 and 4 “provide[] two parallel devices for
  enforcing an arbitration agreement: a stay of litigation in any case raising a dispute referable

  to arbitration, 9 U.S.C. § 3, and an affirmative order to engage in arbitration, § 4.” Moses H.

  Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 22 (1983).

         Generally, “[t]he FAA reflects ‘a liberal federal policyfavoring arbitration agreements.”

  Adkins v. Labor Ready, Inc., 303 F.3d 496, 500 (4th Cir. 2002) (quoting Moses H. Cone,

  460 U.S. at24). Indeed, the FAA serves as “a response to hostility of American courts to the

  enforcement of arbitration agreements, a judicial disposition inherited from then-longstanding

  English practice.” Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 111(2001). Moreover,

  a court is required to “resolve ‘any doubts concerning the scope of arbitrable issues.. in   .




  favor of arbitration.” Hill v. PeopleSoft USA, Inc., 412 F.3d 540, 543 (4th Cir. 2005)

  (quoting Moses H. Cone, 460 U.S. at 24—25); see also Peoples Sec. Life Ins. Co. v.

  Monumental Life Ins. Co., 867 F.2d 809, 812 (4th Cir. 1989) (“Indeed, the heavy



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   presumption of arbitrability requires that when the scope of the arbitration clause is open to

   question, a court must decide the question in favor of arbitration.”).

          A party can compel arbitration by establishing: (1)the existence of a dispute between

   the parties; (2) a written agreement that includes an arbitration provision which purports to

   coverthe dispute; (3) the relationship of the transaction, which is evidenced by the agreement,

  to interstate or foreign commerce; and (4)the failure, neglect, or refusal of the defendant to

   arbitrate the dispute. See Adkins, 303 F.3d at 500—01.

          While the district courts are to apply “the federal substantive law of arbitrability, which

   governs all arbitration agreements encompassed by the FAA,” the courts must also apply the

   ordinary state law principles regarding the formation of contracts, such as the “validity,

   revocability, or enforceability of contracts generally.” Muriithi v. Shuttle Exp., Inc., 712 F.3d

   173, 179 (4th Cir. 2013) (citations omitted); see also 9 U.S.C.    § 2 (arbitration agreements
   may be unenforceable “upon such grounds as exist at law or in equity of the revocation of any

  contract.”); AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011). For example,

   “generally applicable contract defenses, such as fraud, duress, orunconscionability, maybe

  applied to invalidate arbitration agreements without contravening         § 2” of the FAA. See
  Doctor’s Assocs., Inc. v. Casarotto, 517 U.S. 681, 687 (1996) (citations omitted).

          As indicated by the Supreme court of the United States, “the FAA’s ‘policy favoring

  arbitration’ does not authorize federal courts to invent special, arbitration-preferring procedural

  rules.” Morgan v. Sundance, Inc., 142 S.Ct. 1708(2022) (citing Moses H. Cone Memorial

  Hospital v. Mercury Constr. Corp., 460 U.S. 1, 24(1983)). Moreover, the high court

  explained that the policy favoring arbitration:

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        “is merely an acknowledgment of the FAA’s commitment to overrule the

        judiciary’s longstanding refusal to enforce agreements to arbitrate and to place

        such agreements upon the same footing as other contracts.” GranIte Rock

         Co. v. Teamsters, 561 U.S. 287, 302 (2010) (internal quotation marks

        omitted).   Or in another formulation: The policy is to make “arbitration

        agreements as enforceable as other contracts, but not more so.” Prima Paint

         Corp. v. Flood & Conklin Mfg. Co., 388           u.s.   395, 404, n.12 (1967).

        Accordingly, a court must hold a partyto its arbitration contract just as the court

        would to any other kind. But a court may not devise novel rules to favor

        arbitration over litigation. See Dean Witter Reynolds Inc. v. Byrd, 470 U.S.

        213 (1985). If an ordinary procedural rule—whether of waiver or forfeiture or

        what-have-you—would counsel against enforcement of an arbitration contract,

        then so be it. The federal policy is about treating arbitration contracts like all

        others, not about fostering arbitration. See ibid.; National Foundation for

         Cancer Research v. A. G. Edwards & Sons, Inc., 821 F.2d 772, 774

        (C.A.D.C. 1987) (“The Supreme Court has made clear” that the FAA’s policy

        “is based upon the enforcement of contract, rather than a preference for

        arbitration as an alternative dispute resolution mechanism”).

               And indeed, the text of the FAA makes clearthat courts are notto create

        arbitration-specific procedural rules like the one we address here. Section 6

        of the FAA provides that any application under the statute—including an

        application to stay litigation or compel arbitration—”shall be made and heard in

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         the manner provided bylawforthe making and hearing of motions” (unless the

         statute says otherwise). A directive to a federal court to treat arbitration

         applications “in the manner provided by law” for all other motions is simply a

         command to apply the usual federal procedural rules, including any rules

         relating to a motion’s timeliness. Or put conversely, it is a baron using custom-

         made rules, to tilt the playing field in favor of (or against) arbitration. As

         explained above, the usual federal rule of waiver does not include a prejudice

         requirement. So Section 6 instructs that prejudice is not a condition of finding

         that a party, by litigating too long, waived its right to stay litigation or compel

         arbitration under the FAA.

  Sundance, 142 S.Ct. at 1713—14.

                                           DISCUSSION

         In consideration of the arguments asserted by the parties, this Court finds that the

  question of waiver as it pertains to arbitration is the lynch pin, threshold issue ultimately

  resulting in resolution of the pending Motion. Accordingly, this Court focuses its analysis

  entirely on waiver as it is entirely d ispositive—here, defendant DirecTV unquestionably waived

  arbitration based on the history and factual backdrop of this litigation.

         Plaintiff Shultz argues that by litigating for months against her before filing its Motion,

  defendant DirectTV waived its right to arbitrate. This Court agrees.

         Ms. Shultz was added to this case as a named plaintiff and class representative on

  February 23, 2022. [Doc. 343 at 4—5]. In the months that followed, defendant DirecTV

  deposed Ms. Shultz, litigated various discovery disputes, and vigorously opposed class

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   certification by specifically arguing that Ms. Shultzwas not an adequate class representative.

   See [Dcc. 325 at 2, 24—251. Defendant DirecTV did not move to compel arbitration of Ms.

   Shultz’s claims until July 29, 2022, more than five months after she was added to the case.

   Priorto that time, defendant DirecTV litigated this case as if no arbitration agreement existed.

          These actions constitute waiver. As the Supreme Court of the United States clarified

   in Sundance, a party “knowingly relinquish[es] [its] right to arbitrate by acting inconsistently

   with that right.” 142 S.Ct. 1708, 1714(2022). There is no question that defendant DirecTV

   knew about its right to arbitrate, and its arguments to the contrary are not well taken.1

   Defendant DirecTV previously moved to compel arbitration of other named plaintiffs’ claims

   based on the same arbitration provision. Rather than promptly compel Ms. Shultz to

   arbitration after she was added to the case, defendant DirecTV engaged in extensive

   discovery and litigation, which served onlyto delay resolution of the dispute. In fact, a review

   of the entire record of this matter as a whole leads this Court to believe that defendant

   DirecTV withheld its Motion to Compel until after the outcome of class certification in an act

   of legal gamesmanship and strategic pleading. These actions were wholly “inconsistent” with

   an intent to enforce its right to arbitrate. See Degidlo v. Crazy Horse Saloon & Rest. mc,

   880 F.3d 135, 140(4th Cir. 201 8)(”[A]rbitration laws are passed to expedite and facilitate the



         1For example, defendant DirecTV claims that it did not learn of the purported
  agreement to arbitrate until deposing Ms. Shultz. This argument strains credulity in light of
  defendant DirecTV’s long history (even reflected in this case) of aggressively attempting to
  enforce AT&T’s arbitration clause. Defendant DirecTV and its corporate parent AT&T could
  have searched records atanytimeto determine whether Ms. Shultzwas related to any of its
  customers in West Virginia, but it did not do so and coincidentally filed the pending Motion on
  the eve of class certification becoming ripe for adjudication.

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   settlement of disputes and avoid the delay caused by litigation, not to provide a means of

   furthering and extending delays.”).

          As articulated in Sundance, the proper inquiry for arbitration waiver solely “focuses on

   the actions of the person who h[olds] the right” to arbitrate. 142 S.Ct. at 1713. Based on that

   standard, this Court expressly finds that defendant DirecTV waived any right to arbitration

   based on its litigation activity prior to filing the instant Motion and, accordingly, the Motion is

   denied.

                                            CONCLUSION

          Based on the foregoing analysis, Defendant DirecTV, LLC’s Motion to Compel

   Arbitration [Doc. 340] is DENIED.

          It is so ORDERED.

          The Clerk is directed to transmit true copies of this order to all counsel of record.

          DATED: August~, 2022.



                                                                             DISTRICT JUDGE




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